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UNITED sTATEs DISTRICT COURT FH‘EU pg "m'
WESTERN DISTRICT OF TENNESSEE 05 12 Pr*-: z= 51
WESTERN DIVISION
BRIGITTE FLACK JU'DGMENT IN A CIVIL CASE
JO AN'NE B. BA.RNHART, CASE NO: 04-2455

Commissioner of the Social
Security Administration

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED.AND.ADJUDGED that in accordance with the Order of
Remand entered on April 25, 2005, this cause is hereby dismissed.

APPROVE'D :

   
 
  

COURT

   

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§R(}EEHT R. DI THO'LE
Da e Clerk of Court

&AML/UW/

(By) Deputy ClerE

 

This document entered on the docket eat in cong@ance
wiih Ru\e 58 and/or 79(3) FHCP on § " z', z "O

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02455 Was distributed by faX, mail, or direct printing on
May 13, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

